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11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
     In re: CATHODE RAY TUBE (CRT)
14   ANTITRUST LITIGATION
                                                       Master File No. 3:07-cv-05944-SC (N.D. Cal.)
     This Document Relates to Individual Case No.      MDL No. 1917
15

16   3:13-cv-02171-SC

17
     DELL INC. and DELL PRODUCTS L.P.,                 Individual Case No. 3:13-cv-02171-SC
18
            Plaintiffs,
19
            v.                                         STIPULATION AND [PROPOSED]
20                                                     ORDER REGARDING SCHEDULING
     HITACHI, LTD., et al.,
21
            Defendants.
22
            Plaintiffs Dell Inc. and Dell Products L.P. (collectively “Dell”) and Defendants Samsung
23
     SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI Brasil, Ltda., Samsung SDI (Malaysia)
24
     SDN Bhd., Samsung SDI Mexico S.A. de C.V., Shenzhen Samsung SDI Co. Ltd., and Tianjin
25
     Samsung SDI Co., Ltd. (collectively “Samsung SDI”) have conferred by and through their
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     counsel and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
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     STIPULATION AND [PROPOSED] ORDER                                                   Case No. 07-5944
     REGARDING SCHEDULING                                                                MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2890 Filed 10/02/14 Page 2 of 4



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               WHEREAS, on July, 30 2014, Dell served its Seventh Set of Interrogatories and Second
 2
     Set of Requests for Production on Samsung SDI.
 3
               WHEREAS, Samsung SDI responded and objected to Dell’s Seventh Set of
 4
     Interrogatories and Second Set of Requests for Production on September 2, 2014.
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               WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the Dell
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     action.
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               WHEREAS, September 12, 2014 is the deadline for all parties to object to or move to
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     compel additional responses for all written discovery responses in the Dell action.
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               WHEREAS, Dell and Samsung SDI continue to negotiate potential supplemental
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     responses and production of documents by Samsung SDI to Dell’s Seventh Set of Interrogatories
11
     and Second Set of Requests for Production.
12
     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as
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     follows: the deadline for Dell to move to compel additional responses for Dell’s Seventh Set of
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     Interrogatories and Second Set of Requests for Production to Samsung SDI shall be moved to one
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     week following Samsung SDI’s supplemental responses and production. If Dell and Samsung
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     SDI do not reach an agreement by September 19, 2014, Dell retains the right to move to compel
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     responses from Samsung SDI with respect to Dell’s Seventh Set of Interrogatories and Second Set
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     of Requests for Production to Samsung SDI, with such motion to be submitted by September 19,
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     2014. All other dates in the Scheduling Order are unaffected by this stipulation.
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                                                   * * *
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               The undersigned parties jointly and respectfully request that the Court enter this
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     stipulation as an order.
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     STIPULATION AND [PROPOSED] ORDER                                                      Case No. 07-5944
     REGARDING SCHEDULING                                                                   MDL NO. 1917
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      Case 3:07-cv-05944-JST Document 2890 Filed 10/02/14 Page
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                                                    UNIT
                                                                  APPRO
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.




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 3
            October 2, 2014                                     d g e S a




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     Dated:___________________                               Ju
                                            ______________________________________




                                                      RT
 4                                                      Hon. Samuel Conti




                                                                                        LI
                                                    United
                                                        E States District Judge




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                                                                   D IS T IC T O
 6                                                                       R

 7   DATED: September 12, 2014          ALSTON & BIRD LLP

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27                                       Mexico S.A. de C.V., Shenzhen Samsung SDI Co.
                                         Ltd., and Tianjin Samsung SDI Co., Ltd.
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     STIPULATION AND [PROPOSED] ORDER                                          Case No. 07-5944
     REGARDING SCHEDULING                                                       MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2890 Filed 10/02/14 Page 4 of 4



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            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
     REGARDING SCHEDULING                                                                  MDL NO. 1917
